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IN THE UNITED STATES DISTRICT; COURTO
FOR THE DISTRICT OF MARYLAND. .

   

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UNITED STATES OF AMERICA * ana
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Vv. * Criminal No. C-l Q- —© [ G Ss
*
KNOWLEDGE SHARPE, * (Assaulting, Resisting, Or Impeding
* Certain Officers Or Employees, 18
* U.S.C, § 111)
TAURUS TILLMAN, *
*
Defendants *
*
ee
INDICTMENT
COUNT ONE

The Grand Jury for the District of Maryland charges that:

| Introduction/Background

I, The United States Marshals Service (“USMS”) is an agency of the federal
‘government with a variety of duties and responsibilities pursuant to 28 U.S.C. § 561, et seq. The
USMS is charged with handling the housing and transportation of federal defendants who are
detained pending and during their trials. The USMS uses the Chesapeake Detention Facility
(“CDF”), located at 401 East Madison Street, Baltimore, Maryland, to house these federal
defendants. The Chesapeake Detention Facility is maintained by the Department of Public
Safety and Correctional Services (“DCSPS”). .

2. On February 5, 2019, Taurus TILLMAN (“TILLMAN”) and Knowledge
SHARPE (“SHARPE”) were federal defendants housed at CDF.

The Law

3. Title 18, Section 111 provides criminal penalties for “Whoever...forcibly
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assaults, resists, opposes, impedes...any person designated in section 1114 of this title while
engaged in or on account of the performance of official duties.”

4, Title 18, Section 1114 identifies “any officer or employee of the United States or
of any agency in any branch of the United States Government...while such officer or employee
is engaged in or on account of the performance of official duties or any person assisting such an
officer or employee in the performance of such duties or on account of that assistance. .

The Charges |

5. On February 5, 2019, Knowledge SHARPE was present at CDF.

6. On February 5, 2019, SHARPE was in the care and custody of the USMS as a
Federal pre-trial detainee.

7. On February 5, 2019, Sergeant Peter Emenalom with DPSCS (hereinafter Set.
Emenalom) was on duty at CDF.

8. On February 5, 2019, SHARPE was in Delta Pod Quad 4 at CDF. Sgt.
Emenalom was conducting a security round within Delta Pod Quad 4. SHARPE approached Sat.
Emenalom and struck him with a closed fist to his face in an effort to intentionally harm Sgt.
Emenalom during the performance of his duties. Sgt. Emenalom fell to the ground and
SHARPE continued to strike him repeatedly all over his head and body.

9, | By his actions, the defendant, Knowledge SHARPE, did forcibly assault, resist,
oppose, impede and interfere with Sgt. Emenalom, while he was engaged in the performance of
his official duties.

18 U.S.C. § 111
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COUNT TWO
The Grand Jury further charges that:
12. Paragraphs 1-9 of Count One are realleged and incorporated by reference as
though fully set forth herein.

13. On February 5, 2019, Taurus TILLMAN was present at CDF.

14. On February 5, 2019, FILLMAN was in the care and custody of the USMS
as a Federal pre-trial detainee.

15. On February 5, 2019, Officer Napier Hayes with DPSCS (hereinafter Ofc. Hayes)
was on duty at CDF.

16. Ofc. Hayes, who was passing out mail in Delta Pod Quad 4, observed SHARPE
striking Sgt. Emenalom. Ofc. Hayes attempted to pull SHARPE off of Sgt. Emenalom.
TILLMAN then grabbed Ofc. Hayes from behind and began choking Ofc. Hayes in an effort to
intentionally harm Ofc. Hayes during the performance of his duties.

17. By his actions, the defendant, Taurus TILLMAN, did forcibly assault, resist,
oppose, impede and interfere with Ofc. Hayes, while he was engaged in the performance of his

official duties.

 

18 U.S.C, §i11
Robert K. Hur 7
United States Attorney
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Cee wre rs Vy me | Date: f? Of g
Foreperson ~~ ,
